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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


AMY SILVIS, on behalf of herself and all others
similarly situated,                                                 No. 2:14-CV-05005-ER

                               Plaintiff,                           CLASS ACTION
                  v.

AMBIT NORTHEAST, LLC,

                               Defendant.



                        FINAL JUDGMENT AND ORDER OF DISMISSAL

         This matter came before the Court for hearing, on February 1, 2018, pursuant to the

Order of this Court, dated February 22, 2018 (“Preliminary Approval Order”) (ECF No. 90), and

on the application of the Plaintiff for a judgment finally approving the Settlement that is set forth

in Plaintiff’s Amended Unopposed Motion For Preliminary Approval Of Class Action Settlement

dated October 17, 2017, (collectively, including the Exhibits, the “Settlement Agreement”),

(ECF Nos. 81 through 81-10). Due and adequate notice having been given to the Settlement

Class as required in said Preliminary Approval Order, and the Court having considered all papers

filed and proceedings had for this matter and otherwise being fully informed in the premises and

good cause appearing thereupon, IT IS HEREBY ORDERED, ADJUDGED AND DECREED as

follows:

         1.       This Final Judgment and Order of Dismissal incorporates by reference the

Preliminary Approval Order (ECF No.’s 89 and 90).             This Final Judgment and Order of

Dismissal further incorporates by reference the definitions in the Settlement Agreement

(specifically, ECF No. 81-3) and unless otherwise specified herein all capitalized terms



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contained in this Final Judgment and Order of Dismissal shall have the meanings attributed to

them in the Settlement Agreement.

         2.       For purposes of effectuating this Settlement only, the Court hereby Orders final

certification of the proposed Settlement Class, having found that the requirements of Rule 23 of

the Federal Rules of Civil Procedure are met. The Settlement Class is defined as:

                  All persons in the Commonwealth of Pennsylvania who were enrolled as a
                  customer of Defendant and were on Defendant’s Select Variable Plan at any time
                  from January 1, 2011 through February 22, 2018.

Excluded from the Settlement Class are:

       Defendant, any entities in which it has a controlling interest, and any of their parents,
subsidiaries, affiliates, officers, directors, employees, and members of such person’s immediate
family; the presiding judge(s) in this case and their immediate family; and any person who has
previously released claims against Defendant.

         3.       Under the Settlement, Defendant has agreed to pay Eligible Class Members as

follows:

                      i. Each Class Member with a date of enrollment as Defendant’s Customer

                         from January 1, 2011, through January 12, 2014, and who was on

                         Defendant’s Select Variable Plan at any time, will receive a check in the

                         amount of 15% of all amounts paid to Defendant by the Class Member

                         only for the Time Periods during which such Settling Class Members were

                         on the Select Variable Plan.

                     ii. Each Class Member with a date of enrollment as Defendant’s Customer

                         from January 13, 2014, through the date of Preliminary Approval, and

                         who was on Defendant’s Select Variable Plan at any time, will receive a

                         check in the amount of 2% of all amounts paid to Defendant by the Class

                         Member only for the Time Periods during which such Class Member was


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                         on the Select Variable Plan1.

         4.       A list of those persons who timely and validly filed requests for exclusion from

the Settlement Class is attached as Exhibit “C” to the Declaration of Settlement Administrator

(ECF No. 93).        The persons appearing on Exhibit “C” to the Declaration of Settlement

Administrator shall not be members of the Settlement Class and shall have no right to receive

any portion of the Settlement. All members of the Settlement Class (whether or not he, she or it

submits a valid Claim Form) who have not validly excluded themselves from the Settlement

Class shall be bound by all determinations and judgments concerning the Settlement Agreement

and the Settlement contemplated thereby.

         5.       The Court appoints Plaintiff Amy Silvis to serve as representative of the

Settlement Class (“Class Representative”). The Court appoints the law firms of Kohn, Swift &

Graf, P.C., and Marcus & Mack, P.C. as Class Counsel for the Settlement Class.

         6.       Solely for the purposes of effectuating the Settlement, with respect to the

Settlement Class and pursuant to Rule 23 of the Federal Rules of Civil Procedure, this Court

further finds and concludes that:

         a)       Solely for purposes of the proposed settlement, certification of the Settlement Class

                  is warranted because: (i) the members of the Settlement Class are so numerous that

                  joinder is impracticable; (ii) there are questions of law and fact common to the

                  Settlement Class; (iii) Plaintiff’s claims present issues that are typical of the


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  A limited number of members of the Settlement Class with dates of enrollment as Defendant’s
customer from January 13, 2014, through the Preliminary Approval Date did not receive an
updated Disclosure Statement from Defendant prior to becoming enrolled on Defendant’s Select
Variable Plan. These members of the Settlement Class, if they are Eligible Class Members, will
be treated as if they had enrolled as Defendant’s customer on or before January 12, 2014, for
purposes of determining the amount of the check they will receive in the Settlement. Defendant
states that 4,274 Class Members qualify for this exception.


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                  proposed Settlement Class; and (iv) the Plaintiff and Class Counsel fairly and

                  adequately represent and protect the interests of the Settlement Class. The Court

                  further finds that for purposes of this Settlement, issues of law and fact common

                  to the Settlement Class predominate over issues affecting only individual

                  Settlement Class members and that settlement of this action is superior to other

                  means available for fairly and efficiently adjudicating the controversy. The Court

                  also concludes that, because this Action is being settled rather than litigated, the

                  Court need not consider manageability issues that might be presented by the trial

                  of a class action involving the issues in this Action.

         b)       Notice has been provided to the Settlement Class of the pendency of this Action,

                  the conditional certification of the Settlement Class for purposes of this

                  Settlement, and the preliminary approval of the Settlement Agreement and the

                  Settlement contemplated thereby. The Court finds that the notice provided was

                  the best notice practicable under the circumstances to all persons entitled to such

                  notice and fully satisfied the requirements of Rule 23 of the Federal Rules of Civil

                  Procedure and the requirements of due process.

         c)       The Court finds that the claims administration plan described in the Settlement

                  Agreement fairly and adequately addresses the matters of settlement

                  administration, claims submission and provision of the Settlement to Authorized

                  Claimants.    To become an Authorized Claimant to the Class Settlement, a

                  Settlement Class member must submit a claim in the manner set forth in the

                  instructions accompanying the Claim Form. The Claims Administrator shall




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                  provide the appropriate Settlement distribution to Authorized Claimants in

                  accordance with the claims administration plan and the Settlement Agreement.

         d)       All Settlement Class members whose claims are not approved (including, without

                  limitation, anyone who does not submit a Claim Form by the end of the Claims

                  Period) will be barred from receiving any distribution from the Settlement, but in

                  all other respects will be bound by all of the terms of the Settlement Agreement

                  and the terms of this Final Judgment and Order of Dismissal, including without

                  limitation, the releases provided for in the Settlement Agreement and in this

                  Order, and will be barred from bringing or prosecuting any action against the

                  Released Persons concerning the Released Claims.

         e)       The Court finds that the Settlement Agreement was arrived at in good faith

                  following extensive arm’s-length negotiations between experienced counsel, and

                  the Settlement is fair, reasonable and adequate as to the Settlement Class within

                  the meaning of Rule 23 of the Federal Rules of Civil Procedure. The Court

                  therefore approves the Settlement Agreement and the Settlement contemplated

                  thereby in all respects, and orders the Parties to perform in accordance with its

                  terms to the extent the Parties have not already done so.

         f)       This Action and all of the Released Claims are dismissed with prejudice. The

                  Parties are to bear their own costs, except as otherwise provided in the Settlement

                  Agreement.

         g)       Upon the Effective Date, the Plaintiff and the Settlement Class shall be deemed to

                  have, and by operation of this Final Judgment and Order of Dismissal shall have,




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                  fully, finally, and forever released, relinquished and discharged the Released

                  Persons from all Released Claims.

         h)       The Court further orders that (a) all proceedings in the Action are stayed, other

                  than proceedings in furtherance of the Settlement; and (b) all Settlement Class

                  members and all persons acting or purporting to act on behalf of any Settlement

                  Class member(s), who did not timely and properly opt-out from the Settlement

                  Class in accordance with the court-ordered procedures, are enjoined under

                  applicable law, including but not limited to the All Writs Act, 28 U.S.C. 1651, the

                  Anti-Injunction Act, 28 U.S.C. 2283, and Federal Rule of Civil Procedure 65,

                  from commencing or prosecuting any action, suit, proceeding, claim, or cause of

                  action (except those based on personal injury), in any jurisdiction, court or forum

                  against a Released Party relating to or arising out of the subject matter of the

                  Action.

         i)       Neither the Settlement Agreement, nor the fact or any terms of the Settlement, is

                  evidence, or an admission or concession by any Party, any Released Person or any

                  signatory to the Settlement Agreement, of any fault, liability or wrongdoing

                  whatsoever, as to any facts or claims alleged or asserted in the Action, or any

                  other actions or proceedings. The Settlement Agreement is not a finding or

                  evidence of the validity or invalidity of any claims or defenses in the Action or

                  any wrongdoing by the Defendant or any damages or injury to any Settlement

                  Class member. Neither the Settlement Agreement, nor any of the terms and

                  provisions of the Settlement Agreement, nor any of the negotiations or

                  proceedings in connection therewith, nor any of the documents or statements




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                  referred to therein, nor the Settlement, nor the fact of the Settlement, nor the

                  Settlement proceedings, nor any statements in connection therewith: (i) will (A)

                  be argued to be, used or construed as, offered or received in evidence as, or

                  otherwise constitute an admission, concession, presumption, proof, evidence, or a

                  finding of any liability, fault, wrongdoing, injury or damages, or of any wrongful

                  conduct, acts or omissions on the part of any of the Released Persons, or of the

                  validity or infirmity of any defense, or of any damage to Plaintiff or any

                  Settlement Class member; or (B) otherwise be used to create or give rise to any

                  inference or presumption against any of the Released Persons concerning any fact

                  alleged or that could have been alleged, or any claim asserted or that could have

                  been asserted in the Action, or of any purported liability, fault, or wrongdoing of

                  the Released Persons or of any injury or damages to any person; or (ii) will

                  otherwise be admissible, referred to or used in any proceeding of any nature, for

                  any purpose whatsoever, except in connection with consummating or enforcing

                  the Settlement Agreement, the Preliminary Approval Order, or this Final

                  Judgment and Order of Dismissal.

         j)       The Court finds that a “Fee and Expense Award” to Class Counsel in the amount

                  of $1,450,000.00 is fair and reasonable. Therefore, pursuant to the Settlement

                  Agreement, Defendant shall pay, within ten (10) business days of the latest date

                  of the following: (1) the Effective Date; (2) the date that the time for taking an

                  appeal from the order awarding the fees has expired, with no appeal being filed;

                  or (3) if an appeal is taken from the order awarding the fees, the highest court to

                  which such appeal may be taken affirms the order awarding the fees.




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         k)       The Court further finds that a Named Plaintiff Enhancement Award of $2,500.00

                  to the Class Representative is fair and reasonable, which Named Plaintiff

                  Enhancement Award shall be paid separately by Defendant             within ten (10)

                  business days of the latest date of the following: (1) the Effective Date; (2) the

                  date that the time for taking an appeal from the order awarding the Named

                  Plaintiff Enhancement Award has expired, with no appeal being filed; or (3) if an

                  appeal is taken from the order awarding the Named Plaintiff Enhancement Award,

                  the highest court to which such appeal may be taken affirms the order awarding

                  the Named Plaintiff Enhancement Award.

         l)       Pursuant to the agreement of the Parties, the Court hereby severs the above Fee

                  and Expense Award from this Final Judgment and Order of Dismissal so that it

                  shall immediately become a separate and independent Order and not part of this

                  Final Judgment and Order of Dismissal.

         m)       Without affecting the finality of this Final Judgment and Order of Dismissal in

                  any way, this Court hereby retains continuing jurisdiction over: (i)

                  implementation of the Settlement and the claims administration plan, including

                  without limitation, administrative determinations of the Settlement Administrator

                  or Defendant accepting and rejecting claims and any provision              regarding

                  payment of the Settlement; (ii) the payment of attorneys’ fees and expenses; and

                  (iii) both Parties and the Parties’ Counsel for the purpose of construing, enforcing,

                  and administering the Settlement Agreement.

         n)       If (i) said Final Judgment and Order of Dismissal is reversed or (ii) the Effective

                  Date otherwise does not occur, then, in any such event:




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                  1)   The Settlement Agreement , and all orders entered and releases delivered

                       in connection with the Settlement, including without limitation the

                       certification of the Action as a Settlement Class Action, the Preliminary

                       Approval Order, this Final Judgment and Order of Dismissal and the Fee

                       and Expense Award, will be null and void and of no further force or effect,

                       without prejudice to either Party, and may not be introduced as evidence,

                       referred to, or used as the basis for any arguments or taking any position

                       whatsoever in any actions or proceedings by any person or entity, in any

                       manner or for any purpose, including but not limited to claim preclusion

                       (res judicata), issue preclusion (collateral estoppel) or judicial estoppel;

                       and

                  2)   Each Party will be restored to her or its respective position as of the date

                       the Settlement Agreement was signed (October 6, 2017) and they will

                       proceed in all respects as if the Settlement Agreement had not been

                       circulated, the Settlement Agreement had not been entered into, and the

                       related orders had not been entered, and in that event all of their respective

                       claims and defenses as to any issue in the Action will be preserved without

                       prejudice in any way.

                  3)   In addition, the Released Persons shall retain all substantive and

                       procedural rights and defenses, including but not limited to the right to

                       take any action and take any position in opposition to certification of a

                       litigation class action, which rights and defenses shall not be affected by

                       the doctrines of judicial estoppel, issue preclusion (collateral estoppel) or




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                        claim preclusion (res judicata), or any other doctrine, or waived, limited,

                        or prejudiced in any way whatsoever by the Parties’ efforts to obtain

                        approval of the certification of a Settlement Class action, the Settlement,

                        and the Settlement Agreement.



SO ORDERED, this 16th day of August, 2018



                                                             /s/ Eduardo C. Robreno___
                                                             Eduardo C. Robreno
                                                             U.S. DISTRICT JUDGE




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